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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

  UNITED STATES OF AMERICA

        v.                                CASE NO. 8:19-cr-77-T-35JSS

  ONORIODE FRANK NANI



                             JOINT STATUS REPORT

        Pursuant to the Court’s Pretrial Discovery Order and Notice of Trial and

  Status Conference, the United States of America, by Maria Chapa Lopez, United

  States Attorney for the Middle District of Florida, and counsel for defendant

  Onoriode Frank Nani hereby file this joint status report:

        1.     Brief summary of the case's status:

               The indictment in this case was returned on February 26, 2019 (Doc.

               26). The defendant was mistakenly released from federal custody on

               March 13, 2019, and he has not yet been rearrested.

        2.     Possibility of a plea agreement as to each defendant:

               At this time, it is unknown whether or when the defendant will be

               apprehended. Accordingly, the possibility of a plea agreement is

               unknown, but unlikely.
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        3.    Number of days required for trial, for government's case-in-chief:

              At this time, the government estimates that it will take four days to

              present its case-in-chief. Without being able to consult with the

              defendant, defense counsel is not able to articulate an estimate of the

              length of any defense case.

        4.    Pending motions, dates on which they were filed, and whether they

              are ripe for determination:

              There are no pending motions at this time. Defendant’s counsel,

              Robert Citronberg, intends to file a motion to withdraw.

        5.    Potential speedy trial problems:

              The government submits that there is no speedy trial problem in this

              case. The defendant was scheduled to make his initial appearance

              and be arraigned on the indictment on March 18, 2019.

              On March 13, 2019, co-counsel for the defendant filed a written

              waiver of the defendant’s presence at arraignment and entered a plea

              of not guilty. (Doc. 38). As noted above, the defendant was

              mistakenly released from federal custody on the very same date,

              March 13, 2019. Therefore, speedy trial on the indictment has been

              tolled from the date that the defendant first appeared in writing. See

              18 U.S.C. §§ 3161(c)(1), (h)(3). Defendant’s counsel, Mr.




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              Citronberg, has not yet determined the impact of a mistaken release

              from custody on the speedy trial calculation.

                                        Respectfully submitted,


                                        MARIA CHAPA LOPEZ
                                        United States Attorney



                                 By:    /s/ Rachelle DesVaux Bedke
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                          CERTIFICATE OF SERVICE

         I hereby certify that on April 12, 2019, I electronically filed the

  foregoing with the Clerk of the Court by using the CM/ECF system which

  will send a notice of electronic filing to the following:

                              Robert Citronberg, Esquire
                              Rohom Khonsari, Esquire




                                     By:    /s/ Rachelle DesVaux Bedke
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